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United States District Court
District of Massachusetts

KIERNAN JOSEPH LIEBL, INC.
Plaintiff.

Civil Action No.
24-11019-NMG

Vv.

INDIAN FARM ESTATES LLC et al.

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

This action was filed based on allegations of unlawful use
and reproduction of copyrighted architectural designs. Pending
before the Court is the motion of plaintiff, Kiernan Joseph
Liebl, Inc., d.b.a. Royal Oaks Design (“plaintiff”), to strike
certain responses and affirmative defenses in the answer of
defendants Indian Farm Estates LLC (“Indian Farm”) and James
Martorilli (“Martorilli”) (collectively, “defendants”). For the
reasons that follow, the motion will be allowed, in part, and,
denied, in part.

I. Background

Plaintiff, a Minnesota corporation, is a building design
firm that creates and holds copyrights to certain architectural
designs. Indian Farm, a Massachusetts limited liability

company, is a real estate developer owned by Martorilli.
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Plaintiff alleges that defendants, without authorization,
reproduced some of the designs on which plaintiff holds the
copyright as part of their own real estate development.

In April, 2024, plaintiffs filed suit against defendants in
this Court. Plaintiffs subsequently filed an amended complaint
alleging copyright infringement in violation of 17 U.S.C. § 501
and violations of the Digital Millenium Copyright Act under 17
U.S.C. § 1202(a). Defendants answered, for the most part, that
plaintiff's allegations were “legal conclusion[s] to which no
answer is required” or by referencing a document that “speaks
for itself.”

The answer also raised 12 affirmative defenses, claiming
that 1) plaintiff failed to state a claim, 2) plaintiff’s claims
are barred by the statute of limitations, 3) plaintiff failed to
affix notices of the alleged copyrights, 4) the claims are
barred by plaintiff’s own actions and omissions, 5) plaintiff's
claims are barred by the doctrine of unclean hands, 6)
defendants’ conduct was justified, 7) defendants’ conduct was in
good faith, 8) plaintiff suffered no loss, 9) plaintiff was
negligent, 10) plaintiff failed to mitigate, 11) plaintiff
failed to name an indispensable party, and 12) reserving the
right to raise other defenses that could not then be raised.

Now, plaintiff moves to strike defendants’ answer in so far

as it states plaintiff’s allegations are “legal conclusion[s]”

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or refer to a document that “speaks for itself”. Plaintiff also
moves to strike affirmative defenses 3, 6, 7, 8, 9, and ll.

II. Legal Standard

A motion to strike under Fed. R. Civ. P. 12(f) provides
courts “considerable discretion” to strike “from a pleading
any redundant, immaterial, impertinent, or scandalous

matter.” Alvarado-Morales v. Digital Equip. Corp., 843 F.2d 613,

618 (lst Cir. 1988). Although such motions are disfavored, they
can be useful for clarifying or narrowing issues in a case.
F.D.I.C. v. Gladstone, 44 F. Supp. 2d 81, 85 (D. Mass. 1999).
III. Analysis

A. Nonresponsive Answers

Motions to strike answers that state an allegation is a
“legal conclusion to which no answer is required” or that refer
to a document that “speaks for itself” present a novel question
to the Court.

Fed. R. Civ. P. 8(b), which governs an answer’s
sufficiency, requires a party to “admit or deny the allegations
asserted against it” in a complaint or to state that it “lacks
knowledge or information sufficient to form a belief” as to
whether the allegation is true or not. Thus, by its plain text,
Rule 8(b) limits a party to three choices: admit, deny, or claim

lack of knowledge either to admit or deny. Nothing in Rule 8(b)
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permits a party to refuse to respond to an allegation because it
purportedly is a “legal conclusion” or “speaks for itself.”
Although neither the First Circuit nor other sessions of
this Court have decided whether such responses violate Rule
8(b), many other federal courts find that they do. See, e.g., N.

Ind. Metals v. Iowa Exp., Inc., No. 2:07-CV-414-PRC, 2008 WL

2756330, at *3 (N.D. Ind. July 10, 2008) (“[A] responsive
pleading indicating that a document ‘speaks for itself’ [or]
a response that an allegation ‘is a legal conclusion’

is insufficient. (citing Fed. R. Civ. P. 8(b)); State Farm

Mut. Auto. Ins. Co. v. Riley, 199 F.R.D. 276, 278 (N.D. Ill.

2001) (same); see also, e.g., Clarendon Am. Ins. Co. v. All

Bros. Painting, Inc., No. 6:13-CV-934-ORL-22, 2013 WL 5921538,

at *3 (M.D. Fla. Nov. 4, 2013) (collecting cases). These cases
persuasively rely on the plain text of Rule 8(b), which permits
no such prevarication in a party’s responses to a complaint, and
the Supreme Court’s general view on complaints as documents that
inherently combine both factual and legal allegations. N. Ind.

Metals, 2008 WL 2756330, at *3 (quoting Denton v. Hernandez, 504

U.S. 25, 31 (1992)); State Farm Mut. Auto. Ins. Co., 199 F.R.D.

at 278 (citing Denton, 504 U.S. at 31).
Based on such authority, the Court finds that defendants’
responses to the allegations in plaintiff’s amended complaint

which either demur that an allegation is a “legal conclusion”
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that requires no response or that refer to a document that
purportedly “speaks for itself” are insufficient to satisfy the

requirements of Rule 8(b). See N. Ind. Metals, 2008 WL 2756330,

at *3 (citing McGrath v. Godshalk, No. 07 CV 34, 2007 WL

2746865, at *12 (N.D. Ind. Sept. 18, 2007)); State Farm Mut.

Auto. Ins. Co., 199 F.R.D. at 278.

The Court will therefore strike all non-compliant portions
of defendant’s answer but afford defendants an opportunity to
file an amended answer in compliance with Rule 8(b). Accord N.

Ind. Metals, Inc., 2008 WL 2756330, at *5 (allowing opportunity

to amend after granting motion to strike).

B. Affirmative Defenses

Motions to strike affirmative defenses are generally
disfavored and are allowed only when a plaintiff establishes
that it is “beyond cavil that the defendant[] could not prevail”

on the defense raised. Bio-Vita, Ltd. v. Rausch, 759 F. Supp.

33, 39 (D. Mass. 1991); Honeywell Consumer Prods. v. Windmere

Corp., 993 F. Supp. 22, 24 (D. Mass. 1998) (quoting Coolidge v.

Judith Gap Lumber Co., 808 F. Supp. 889, 893 (D. Me. 1992))

(alteration in original). Even then, motions to strike defenses
are “rarely granted absent a showing of prejudice to the moving

party.” Zurich Am. Ins. Co. v. Watts Regulator Co., 796 F. Supp.

2d 240, 246 (D. Mass. 2011) (quoting Hayes v. McGee, No. 10-cv-

40095, 2011 WL 39341, at *2 (D. Mass. Jan. 6, 2011)).
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Here, plaintiff move to strike affirmative defenses 3, 6,
7, 8, 9, and 11. Defendants do not directly oppose striking
defenses 3, 9, and 11. The Court therefore accepts this as a
concession from defendants that they could not prevail on these

defenses. See Honeywell Consumer Prods., 993 F. Supp. a 24.

As to affirmative defense 6, justification for copyright
infringement, plaintiff argues it is inviable because no such
defense exists. The few courts that have addressed it appear to

question whether such a defense is possible. See, e.g., Michael

Grecco Prods., Inc. v. Livingly Media, Inc., No. CV 20-0151 DSF

(JCX), 2021 WL 2546749, at *14 (C.D. Cal. Apr. 16, 2021)
(doubting whether justification defense “ever would apply to a
copyright infringement action”). Mere doubt that justification
is a defense does not, however, give rise to a finding that it
is “beyond cavil that the defendant[] could not prevail” on it.

Honeywell Consumer Prods., 993 F. Supp. at 24.

Plaintiff next posits that the affirmative defenses 7 and
8, that plaintiff suffered no damage and that defendants acted
in good faith, are not affirmative defenses at all. On this
point, the Court agrees. While damages are an issue under
copyright law, see 17 U.S.C. § 501, a valid copyright
infringement claim requires neither proof of intent nor damages,
only proof that 1) the defendant copied the plaintiff’s

copyrighted word and 2) that such copying was so extensive that

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it made the infringing work substantially similar to the

copyrighted one. Yankee Candle Co. v. Bridgewater Candle Co.,

LLC, 259 F.3d 25, 33 (lst Cir. 2001). As such, there can be no
doubt that a lack of damage to the plaintiff or a lack of bad
intent by the defendant, even if true, could in no circumstance
defeat an otherwise potentially viable copyright claim. See

Honeywell Consumer Prods., 993 F. Supp. at 24; accord Davis v.

The Gap, Inc., 246 F.3d 152, 158 (2d Cir. 2001), as_amended (May

15, 2001) (“The existence of damages suffered is not an
essential element of a claim for copyright infringement.”);

Monge v. Maya Mags., Inc., 688 F.3d 1164, 1170 (9th Cir. 2012)

(“[T]he innocent intent of the defendant constitutes no defense
to [copyright] liability.”).

Defendants rejoin that, even assuming that some of the
challenged defenses are not viable, they should not be stricken
because plaintiff failed to show prejudice sufficient to warrant
a motion to strike. While the Court agrees that plaintiff has
presented little to satisfy the prejudice requirement, the facts
here are enough, based on existing case law, to merit a finding
of prejudice. In S.E.C. v. Northern, 400 F. Supp. 2d 362 (D.
Mass. 2005), for example, this Court found prejudice sufficient
to warrant striking affirmative defenses even though plaintiff
did little to point out specific instances where the inviable

defense would cause it harm. Id. at 367. Nevertheless, this
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Court allowed the motion, concluding that uncontroverted
evidence that a defense was inviable and thus would require the
plaintiff to waste time and resources during discovery was
sufficient to merit striking it. Id. Here, as in Northern,
further discovery on the issue of damages or good faith will do
nothing to change the fact that good intent and lack of damages
are not, nor could they be, a viable defense to a copyright

claim. Id.; see Gov’t Emps. Ins. Co. v. Barron Chiropractic &

Rehab., -P.C., No. 16-CV-10642-ADB, 2018 WL 1640044, at *1 (D.

Mass. Apr. 5, 2018) (applying Northern in favor of granting

motion to strike); PetEdge, Inc. v. Yahee Techs. Corp., No.

1:15-CV-13171-ADB, 2017 WL 1702276, at *2 (D. Mass. May 2, 2017)
(same). Affirmative defenses 3, 7, 8, 9, and 11 will therefore

be stricken.

ORDER
For the foregoing reasons,

1) plaintiff's motion to strike aspects of defendants’ answer
that fail to comply with Rule 8(b) is ALLOWED;

2) plaintiff’s motion to strike affirmative defenses in
defendants’ answer is, as to defenses 3, 7, 8, 9, and li,
ALLOWED but otherwise DENIED; and

3) defendants’ request for attorneys’ fees is DENIED.

Defendants are hereby directed to file an amended answer on or
before November 18, 2024, in compliance with Rule 8(b).

So ordered. 2 licaird 0G :

Nathaniel M. Gorton
United States District Judge

Dated: October 29, 2024
